               Case 3:18-cv-02353-MMC Document 31 Filed 05/31/18 Page 1 of 2
                                                                                                   Reset Form

 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                   )
     DEALDASH OYJ and DEALDASH                                    3:18-CV-02353
                                                     )   Case No: _______________
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF ATTORNEY
              v.
                                                     )   PRO HAC VICE
 6   CONTEXTLOGIC INC. dba WISH                      )   (CIVIL LOCAL RULE 11-3)
                                                     )
 7                                                   )
                                     Defendant(s).
                                                     )
 8
         I, Peter Joel Willsey                    , an active member in good standing of the bar of
 9    District of Columbia         , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: CONTEXTLOGIC INC.                            in the
                                                                John W. Crittenden
     above-entitled action. My local co-counsel in this case is __________________________________,     an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      Cooley LLP, 1299 Pennsylvania Avenue, NW            Cooley LLP, 101 California Street, 5th Floor,
14    Suite 700, Washington, DC 20004                     San Francisco, CA 94111-5800
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (202) 842-7845                                      (415) 693-2090
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    pwillsey@cooley.com                                 jcrittenden@cooley.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 996937       .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 05/30/18                                               Peter Joel Willsey
22                                                                               APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Peter Joel Willsey                         is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated:
                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                  October 2012
        Case 3:18-cv-02353-MMC Document 31 Filed 05/31/18 Page 2 of 2



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    On behalf ofJULIO A. CASTILLO, Clerk of the District of Columbia Couxt of Appeals,
                   the District of Columbia Bax does hereby certify that



                              ~~                          GC
                                                            ~~~

was duly qualified and admitted on October 4, 2010 as an attorney and counselor entitled to
 practice before this Court; and is, on the date indicated below, an Active member in good
                                      standing of this Bar.




                                                                      In Testimony Whereof,
                                                                  I have hereunto subscribed my
                                                                  name and affixed the seal of this
                                                                  Court at the City of Washington,
                                                                      D.C., on May 30, 2018.



                                                                                 (/~      ~s~~r-y~1

                                                                        JULIO A. CASTILLO
                                                                          Clerk of the Court




                                                                  Issued By:
                                                                            District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                   memberservices@dcbar.org.
